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Case 2:14-cv-00456-CBWPRZ Document 1 Filed 01/21/14 Page 1of13 Page ID#1

ANDRE BIROTTE JR.
United States Attorney
ROBERT E. DUGDALE
Assistant United States Attorney
Chief, Criminal Division
STEVEN R. WELK
Assistant United States Attorney
Chief, Asset Forfeiture Section
FRANK D. KORTUM {Cal. Bar No. 110984)
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Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
WESTRERN DIVISION

Cus 4.-0456 Com &Zx

VERIFIED COMPLAINT FOR FORFEITUTE

UNITED STATES OF AMERICA,
Plaintiff,

Vv.

 

ONE 2007 JAGUAR XKR,

 

 

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[19 U.S.C. § 1595a(c} (1) (A) and
19 U.S.C.§ 1595a(c) (2) (A)]

Defendant. [I.c.E.]

The United States of America brings this claim against the

Defendant One 2007 Jaguar XKR and alleges as follows:

JURISDICTION AND VENUE

1.
U.S.C.

2.

U.S.C. §§ 1345 and 1355.

§ 159Sa(c) (1) (A) and 19 U.S.C. § 1595a(c) (2) (A).

This is a civil forfeiture action brought pursuant to 19

This court has jurisdiction over the matter under 28

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Case 2:14-cv-00456-CBMWBRZ Document 1 Filed 01/21/14 (Page 2o0f13 Page ID#:2

3. Venue lies in this district pursuant to 28 U.S.C.

§ 1395(b).

PERSONS AND ENTITIES

4. The plaintiff is the United States of America.
5. The defendant is one 2007 Jaquar XKR, VIN No.
SAJAA44R479B14868, (“defendant vehicle”) seized on June 15, 2011 at

the Los Angeles/Long Beach Seaport in connection with the attempted
importation of the defendant vehicle into the United States.

6. The defendant vehicle is in the custody of United States
Customs and Border Protection (“CBP”), where it shall remain subject
to the jurisdiction of this Court during the pendency of this action.
| 7. The interests of Emmanuel Kachikwu (“Kachikwu") and Nancy
| nsokayoce (“Adekayode) may be adversely affected by these
proceedings.
| STATUTORY AND REGULATORY BACKGROUND
8. Pursuant to 18 U.S.C. § 545, merchandise smuggled into the
| united States is subject to forfeiture. Pursuant to 19 U.S.C. §

159Sa(c), merchandise is also subject to forfeiture if imported into

 

 

the United States in violation of 19 C.F.R § 12.73 (prohibiting

 

importation without compliance with antipollution emission
requirements); 40 C.F.R. § 85.1513 (prohibiting importation of
vehicles without certificate of conformity); 49 U.S.C. § 30112

(prohibiting importation of vehicles without compliance with safety

 

standards); and 42 U.S.C. § 7522 {prohibiting importation of untested

and uninspected vehicles).
| 9. The Clean Air Act ("CAA"), 42 U.S.C. § 7401 et seq.,

regulates the emission of pollutants into the air. Pursuant to

 

Section 203 of CAA, 42 U.S.C. § 7522, the Environmental Protection

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Case 2:14-cv-00456-CBMBRZ Document 1 Filed 01/21/14 (Page 30f13 Page ID #3

Agency ("EPA") promulgated standards for the Importation Control of
Air Pollution from Mobile Sources, at 40 C.F.R. Part 85, Subpart P.
These regulations require motor vehicles imported into the United
States and manufactured after January 1, 1968 to comply with
certification requirements established by the CAA and to meet
emission requirements prescribed in said regulations. An EPA form
(No. 3520-1) must be submitted to notify CBP of the importation of a
vehicle that must either meet EPA standards or fit an exemption. All
nonconforming vehicles imported into the United States are required
to be imported by an Independent Commercial Importer ("ICI") who is
authorized to conform such motor vehicles to meet emission
requirements. 40 C.F.R. § 85.1503. It is a criminal offense under
42 U.S.C. § 7413 to fail to file required documents such as Form
3520-1.

FACTS SUPPORTING FORFEITURE

10. Adekayode, a resident of Reseda, California, filed entry
number AWS-00316753 on or about June 2, 2011, in connection with the
importation of the defendant vehicle into the United States.
Kachikwu had caused the defendant vehicle to be exported to the
United States from Nigeria.

11. On June 13, 2011, CBP import specialists determined that
the defendant vehicle was not eligible for importation into the
United States because (A) the defendant vehicle did not appear on a
list (by make, model, and year of manufacture) issued by the National
Highway Traffic Safety Administration (“NHTSA”) of nonconforming
vehicles eligible for importation to the United States by ICIs; (B)
Kachikwu was not an ICI; and (C) no EPA form 3520-1 had been

submitted in connection with the importation.

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Case 2:14-cv-00456-CBMMRZ Document 1 Filed 01/21/14 (Page 4of13 Page ID#:4

12. The defendant vehicle was seized on June 15, 2011, after
verification of the VIN Number was completed with Jaguar Cars,
Limited (“Jaguar”}. A Jaguar representative subsequently stated that
the defendant vehicle had been stolen in 2007 from a Jaguar assembly
facility in Birmingham, England. (The government does not allege at
this time that either Kachikwu or Adekayode were responsible for the
theft of the defendant vehicle.) The Jaguar representative also
Stated that the defendant vehicle was not manufactured in compliance
with United States safety and environmental standards, and that it
was instead manufactured to comply with the applicable standards of
the Czech Republic.

FIRST CLAIM FOR RELIEF

13. Based on the above, plaintiff alleges that the defendant
vehicle constitutes merchandise smuggled into the United States in
violation of 18 U.S.C. § 545 and is therefore subject to forfeiture
pursuant to 19 U.S.C § 1595a(c) (1) (A).

SECOND CLAIM FOR RELIEF

14. Based on the above, plaintiff alleges that the defendant
vehicle was imported to the United States in violation of one or more
laws governing motor vehicle safety and environmental standards and
is therefore subject to forfeiture pursuant to 19 U.S.C §
1595a(c) (2) (A).

WHEREFORE, the United States prays that due process issue to
enforce the forfeiture of the defendant vehicle, due notice be given
to all interested parties to appear and show cause why forfeiture
should not be decreed, that this court decree forfeiture of the

defendant vehicle to the United States of America for disposition

 
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| Case 2:14-cv-00456-CBMBRZ Document 1 Filed 01/21/14 (Page 50f13 Page ID #:5

 

according to law, and for such other and further relief as this court

may deem just and proper, together with the costs and disbursements

of this action.

Dated: January i. 2014 Respectfully submitted,

ANDRE BIROTTE JR.

United States Attorney

ROBERT E. DUGDALE

Assistant United States Attorney
Chief, Criminal Division

STEVEN R. WELK

Assistant United States Attorney
Chief, Criminal Division

EAB ¢

FRANK D. KORTUM
Assistant United States Attorney

 

Attorneys for Plaintiff
United States of America

 
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VERIFICATION

I, Eddy Wang, hereby declare that:

1. I am a Supervisory Special Agent with the U.S. Immigration
and Customs Enforcement, Homeland Security Investigations ("ICE/HSI”)
and I was the supervising agent for the forfeiture matter entitled
United States of America v. One Jaguar XKR.

2. I have read the above Verified Complaint for Forfeiture and
know its contents. It is based upon my own personal knowledge and
reports provided to me by other law enforcement agents.

3. Everything contained in the Complaint is true and correct,
to the best of my knowledge and belief.

I declare under penalty of perjury that the foregoing is

true and correct.

Executed January iG , 2014 at Santa Ana, California.

Zar]

 

@aeay Wang
Supervisory/Special Agant
Homeland Security igations

 
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Case 2:14-cv-00458-C Z Documanind cou AGO Le eget 134 Page ID #:7

 

 

 

 

 

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1. (a) PLAINTIFFS ( Check box if you are representing yourself [| ) DEFENDANTS = ( Check box if you acer tin’ reo
UNITED STATES OF AMERICA ONE 2007 JAGUAR XKR > L
(b) Attorneys (Firm Name, Address and Telephone Number. If you (b) Attorneys (Firm Name, Address and Telephone Number. If you
are representing yourself, provide same information.) are representing yourself, provide same information.)
FRANK 0, KORTUM, Assistant United States Attorney
California Bar Number 110984
Federal Courthouse, 14th Floor, 312 North Spring Street, Los Angeles, Ca 90012
Telephone: 213-894-5710; Fax: (21 3) 894-7177;Emall: Frank.Kortum@usdoj.gov
ll. BASIS OF JURISDICTION {Place an X in one box only.) tt. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant) DEF
PTF DEF PTF
Incorporated ar Principal Place
1, U5. Government 3. Federal Question (U.S. Citizen of This State O11 O 4 ha
BI Plaintiff O Government Not a Party} of Business in this State
Citizen of AnotherState [7] 2 [] 2 Incorporated and Principal Place Osqs
of Business in Another State
2, U.S. Government [_] 4. Diversity (Indicate Citizenship [citizen or Subject of a ; 3 Foreign Nati 6 6
Defendant of Parties in Iter II) Foreign Country O30 reign Nation OepD

 

IV. ORIGIN (Place an X in one box only.)

6, Mutti-
1. Original 2. Removed from 3. Remanded from 4, Reinstated or 5. Transferted from Another District
Proceeding 0 State Court O Appellate Court O Reopened C] District (Specify) O Litlgation

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: [] Yes No (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23; []Yes [X}No ["] MONEY DEMANDED IN COMPLAINT: $

—————
VI. CAUSE OF ACTION (cite the US. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

19 U.S.C. § 1595a(c)(1)(A} and (€)(2)(A}
Vil. NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

 

 

 

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C) 410 Antitrust C1 130 Mitter Act (1 290 Alt Other Real Immigration Actions Sentence |) 849 Trademark

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Da) er hse 150 Recovery of | PERSONAL PROPERTY "370 Other Fraud Other: [1] 862 Black Lung (923)

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Product Liability

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FOR OFFICE USE ONLY: Case Number:

CV-71 (09/13) CIVIL COVER SHEET Page 1 of 3

 

 

 
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CIVIL COVER SHE

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RICTCCOURT, CERTRAODISERIET PEGA FORMA Page ID #:8

VIII. VENUE: Your answers to the questions below will determine the diviston of the Court to which this case will most likely be Initially assigned. This initial assignment
is subject to change, in accordance with the Court's General Orders, upan review by the Court of your Complaint or Notice of Removal.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Question A: Was this case removed from STATE CASE WAS PENDING IN THE COUNTY OF: INITIAL DIVISION IN CACD IS:
state court?
CO Yes [x] No (O Los Angeles Western
lf "no, " go to Question B. If*yes,"checkthe |[7] Ventura, Santa Barbara, or San Luis Obispo Wester
box to the right that applles, enter the
corresponding division in response ta (1 Grange Southern
Question D, below, and skip to Section Ix. E
7 (] Riverside or San Bernardino astern
Question B: Is the United States, or one off If the United States, or one of its agencies or employees, Is a party, is it:
its agencles or employees, a party to this
actlon? INTIAL
A PLAINTIFF? A DEFENDANT? DIVISION IN
CACO IS:
fq Yes [] No Then check the box below for the county in Then check the box below for the county in
which the majority of DEFENDANTS reside. which the majority of PLAINTIFFS reside.
If “no, * go to Question C. Iftyes,” check the {[x<] Los Angeles LD Los Angeles Western
box to the right that applies, enter the Ventura, Santa Barbara, or San Luls Ventura, Santa Barbara, or San Luis Ww
corresponding division in response to oO Obispo | Obispo estern
Question D, below, and skip to Section IX. Oo Orange [] Orange Southern
() Riverside or San Bernardino (] Riverside or San Bemardino Eastern
OC Other CL) Other Western
! A B. G Oo. E. F,
Question C: Location of Los Angeles | Ventura, Santa Barbara, or | Orange County Riverside or San Outside the Central Other
plaintiffs, defendants, and claims?| County =| San Luis Obispo Counties Bemardino Counties District of Callfornta

 

indicate the location In which a
majority of plaintiffs reside:

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Indicate the location In which a
majority of defendants reside:

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indicate the location in which a

majority of claims arose:

 

 

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LJ 2ormore answers in Column C

C.1, [s elther of the following true? If so, check the one that applies:

[_] only 1 answer in Column C and no answers in Column D

Your case will initially be assigned to the
SOUTHERN DIVISION,
Enter “Southern” In response to Question 0, below.

If none applies, answer question C2 to the right.

—p

 

{_] 2 or more answers in Column D

C2. Is elther of the following trua? If so, chack the one that applies:

[_] only 1 answer in Column D and no answers in Column C

Your case will initially be assigned to the
EASTERN DIVISION.
Enter "Eastern" in response to Question D, below.

If none applies, go to the box below. 4

 

Your case will initially be assigned to the

 

 

 

 

 

 

 

WESTERN DIVISION.
Enter "Western" in response to Question D below,
Question D: Initial Division? INITIAL DIVISION IN CACD
Enter the initial division determined by Question A, B,orC above: sam» WESTERN
CV-71 (09/13} CIVIL COVER SHEET

 

Page 2 of 3

 
- Case 2:14-cv-OCARGFEIBIMURES DISTRICT COURT) CERTICL DIGRACE OF CAFRA ID #:9

 

CIVIL COVER SHEET
IX(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO Cc) YES
if yes, list case number(s}:
IX(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? [x] NO [| YES

If yes, list case number(s):

 

Civil cases ara deemed related if a previously filed case and the present case:

{Check all boxes that apply) [_] A. Arise from the same or ctasely related transactions, happenings, or events; or

C1 B. Call for determination of the same or substantially related or similar questions of law and fact; or
CT) C, For other reasons would entail substantial duplication of labor if heard by different Judges; or

| D. Involve the same patent, trademark or copyright_and one of the factors Identified above In a, b or c also is present.

X. SIGNATURE OF ATTORNEY , 4
(OR SELF-REPRESENTED LITIGANT): F2+_Lag DATE: ~# Ye / ] Y

Notice to Counsel/Partles: The CV-71 (J5-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or

other papers as required by law. This form, approved by the Judicial Conference of the United States In September 1974, is required pursuant to Local Rule 3-1 Is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed Instructions, see separate Instructions sheet).

 

Key to Statistical codes relating to Social Security Cases:

Nature of SultCode Abbreviation Substantive Statement of Cause of Action

a AA Alt claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended, Also,

include claims by hospitals, skilled nursing facilities, etc. for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

i, 862 BL All claims for “Black Lung* benefits under Title 4, Part B, of the Federal Coa! Mine Health and Safety Act of 1969. (30 U.S.C.

923)

863 piwc Ail claims filed by insured workers for disability insurance benefits under Title 2 of the Soclal Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C, 405 {g}}

B63 DIWWw All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g)}
All ctaims for supplemental security income payments based upan disability Med under Title 16 of the Social Security Act, as

B64 oo amended.

865 RSI All claims for retirement (old age} and survivors benefits under Title 2 of the Soctal Security Act, as amended.

(42 U.S.C, 405 (g)}

 

CV-71 (09/13) CIVIL COVER SHEET Page 3 of 3
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Case 2:14-cv-00456-CBMRZ Document 1 Filed 01/21/14 Page 10 of 13 Page ID #

ANDRE BIROTTE JR.
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ROBERT E. DUGDALE
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Chief, Asset Forfeiture Section
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E-mail: Frank.Kortum@usdoj .gov

Attorneys for Plaintiff
United States of America

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

UNITED STATES OF AMERICA, ICY 4 -045 6

Plaintiff,

 

NOTICE
vs.

ONE 2007 JAGUAR XKR,

Defendant.

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In obedience to a Warrant of Arrest In Rem to me directed,
in the above-entitled cause, I have, on the day of ;

2014, seized and taken into my possession, the following

 

 

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BP NU aak OHH SKOwmMAADH EF WN OY

 

Case 2:14-cv-00456-CBMERZ Document 1 Filed 01/21/14 Page 110f13 Page ID#

described defendant, to wit: ONE 2007 JAGUAR XKR, for the cause
set forth in the Complaint, to wit: violation of federal laws,
now pending in the United States District Court for the Central
District of California, at Los Angeles, California. Amount
demanded is the sum of $-0-, plus interest and costs.

I HEREBY GIVE NOTICE to any person who claims an interest
in the above-described defendants that, pursuant to Rule G(5)
of the Supplemental Rules for Admiralty or Maritime Claims and
Asset Forfeiture Actions of the Federal Rules of Civil
Procedure, said person must file with the Clerk of the United
States District Court at Los Angeles, California and serve upon
the attorney for the plaintiff, a verified Claim identifying the
property claimed and his or her interest in the property not
later than thirty-five (35) days after the date of service of
the Complaint, or within such additional time as the court may
allow; that said person must file and serve an Answer within
twenty (20) days after the filing of the verified Claim; that if
notice was published but direct notice was not sent to said
person or to said person’s attorney, the Claim must be filed no
later than sixty (60) days after the first day of publication on
an official internet government forfeiture site or legal notice
under Rule G(4) (a); and that all interested persons must file
verified Claims and Answers within the time so fixed; otherwise,
default may be entered and forfeiture ordered of the interest in
the defendants of any person not so complying. Applications for
intervention wnder Rule 24 of the Federal Rules of Civil
Procedure by persons claiming maritime liens or other interests

shall be filed within the time fixed by the court. A claim

 

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filed by a person asserting an interest as a bailee must
identify the bailor, and if filed on the bailor’s behalf must
state the authority to do so.

Pursuant to General Order 10-07 of the United States
District Court for the Central District of California, this
action is subject to the Electronic Case Filing (“ECF”) System.
ECF User Registration Forms may be obtained from the Court.

Please check http://www.forfeiture.gov for a listing of all
judicial forfeiture notices.

Plaintiff's attorney is Assistant United States Attorney
Frank D. Kortum, 312 North Spring Street, 14th Floor, Los
Angeles, California 90012, (213) 894-5710.

The custodian of the defendant property is the Department
of Homeland Security, Bureau of Customs and Border Protection,
Seized Property Custodian for U.S. Customs and Border
Protection, 301 East Ocean Boulevard, Suite 620, Long Beach, CA,

90802 (562)624-3800.

DATED: This day of , 2014.

U.S. CUSTOMS AND BORDER PROTECTION

 

FINES, PENALTIES, AND FORFEITURES
OFFICER

 

Case 2:14-cv-00456-CB@RRZ Document 1 Filed 01/21/14 ‘BAge 12 0f13 Page |ID#

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Case 2:14-cv-00456-CBM-RZ Document1 Filed 01/21/14 Page130f13 Page ID#13

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES

This case has been assigned to District Judge Consuelo B. Marshall and the assigned

Magistrate Judge is Ralph Zarefsky

The case number on all documents filed with the Court should read as follows:

14-CV-00456 CBM-RZx

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of

California, the Magistrate Judge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge.

Clerk, U.S. District Court

 

 

 

January 21, 2014 By SBOURGEOIS
pete Deputy Clerk
NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is

filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[x] Western Division [_] Southern Division [] Eastern Division
312 N. Spring Street, G-8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV¥-18 (OATS) NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
